

Matter of Gristina v Merchan (2021 NY Slip Op 05626)





Matter of Gristina v Merchan


2021 NY Slip Op 05626


Decided on October 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 14, 2021

Before: Kapnick, J.P., Singh, Shulman, Pitt, Higgitt, JJ. 


Index No. 751/12 Appeal No. 14396 Case No. 2021-01469 

[*1]In the Matter of Anna Gristina, Petitioner, 
vHon. Juan Merchan, etc. et al., Respondents.


Law Office of Lawrence P. LaBrew, New York (Lawrence P. LaBrew of counsel), for petitioner.
Letitia James, Attorney General, New York (Miranda R. Onnen of counsel), for Hon. Juan Merchan, respondent.
Cyrus R. Vance, Jr., District Attorney, New York (Julio Cuevas, Jr. of counsel), for Cyrus R. Vance, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 14, 2021








